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            UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                              CENTRAL DIVISION


 PAUL HUTCHINSON, an individual; and                 ORDER GRANTING IN PART AND
 DESTINARE LLC, a Utah limited liability             DENYING IN PART DEFENDANT’S
 company,                                            MOTION FOR LEAVE TO FILE
                                                     REPLY TO PLAINTIFFS’
        Plaintiffs,                                  MEMORANDUM IN OPPOSITION TO
                                                     MOTION TO QUASH SUBPOENA
 v.                                                  (DOC. NO. 44)

 J. KAHEALANI KAMAUU, an individual;                 Case No. 2:20-cv-00796-RJS-DAO
 ROI COMPANIES LLC, a Hawaii limited
 liability; HALE MALUHIA ESTATE LLC, a               Chief Judge Robert J. Shelby
 Hawaii limited liability company,
                                                     Magistrate Judge Daphne A. Oberg
        Defendants.


       Before the court is pro se Defendant J. Kahealani Kamauu’s motion to for leave to file a

reply, (Doc. No. 44). For good cause appearing, the court GRANTS Mr. Kamauu’s motion to the

extent he seeks leave to file a reply. The motion is DENIED to the extent he seeks thirty days to

file the reply. The reply must be filed with the court by January 3, 2022.

       DATED this 10th day of December, 2021.


                                                     BY THE COURT:


                                                     ______________________________
                                                     Daphne A. Oberg
                                                     United States Magistrate Judge
